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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION

 STATE OF TEXAS, STATE OF                       §
 LOUISIANA, STATE OF MISSISSIPPI,               §
 STATE OF UTAH, JEFFREY W.                      §
 TORMEY, GUN OWNERS OF                          §
 AMERICA, INC., GUN OWNERS                      §       CIVIL ACTION NO. 2:24-CV-00089-Z
 FOUNDATION, TENNESSEE                          §
 FIREARMS ASSOCIATION, and                      §
 VIRGINIA CITIZENS DEFENSE                      §
 LEAGUE,                                        §
      Plaintiffs,                               §
 v.                                             §
                                                §
 BUREAU OF ALCOHOL, TOBACCO,                    §
 FIREARMS AND EXPLOSIVES,                       §
 UNITED STATES DEPARTMENT OF                    §
 JUSTICE, MERRICK GARLAND, in his               §
 official capacity as Attorney General of the   §
 United States, and STEVEN M.                   §
 DETTELBACH, in his official capacity as        §
 Director of ATF,                               §
                                                §
         Defendants.
                                                §


                    SUPPLEMENTAL BRIEF OF JEFFREY W. TORMEY


        COMES NOW, JEFFREY W. TORMEY (“Tormey”), by and through counsel of record,

and files this, his Supplemental Brief in response to this Court’s May 19, 2024 Order. See ECF

#45. For the reasons below and those already briefed, Mr. Tormey has standing to pursue this

litigation.

        As stated in Jeffrey W. Tormey’s declaration, he is a “member of Gun Owners of America,

a member of Tennessee Firearms Association, and a member of Virginia Citizens Defense

League.” See Declaration of Jeffrey W. Tormey, ECF #1-1 at ¶ 2. Tormey stated that he has a

“large personal collection of firearms” that he “accumulated over many years.” Id. at ¶ 4. Tormey
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described his previous sales of firearms, “through various mediums, for a number of years.” Id. at

¶9. And Tormey expressed his fear of how the Final Rule now purports to presume that much of

his perfectly lawful conduct is in fact felonious, foisting on him the burden to prove his innocence

for conduct that the statute already expressly declares to be lawful. Id. at ¶14

       During oral argument, counsel for the government contended that Tormey’s intended

conduct “is not the type of conduct that would implicate the rule which targets unlicensed

individuals engaged in the selling of firearms for – principally for profit.” See Transcript of TRO

Hearing, 5/16/2024, 36:18-21; see also ECF #31 at 14 (“the conduct described in Tormey’s

declaration does not rise to the level of being “engaged in the business” and would not subject him

to any enforcement action.”). Specifically, the government contends that Tormey’s “personal

collection,” i.e., as defined under the Final Rule to exclude “self-defense” firearms, does not trigger

the Final Rule’s prohibition on unlicensed selling of firearms. Id. at 39:3-9.

       However, as counsel for Tormey explained, the ATF removed “self-defense firearms” from

the definition of “personal collection.” Id. at 22:24-25 to 23:1. Further, Tormey’s “personal

collection firearms” includes “a lot of self-defense firearms, which would then strip it outside of

the personal collection” definition in the Final Rule, thereby eliminating the statutory safe harbor

for Tormey. Id. at 71:10-12.

       In Tormey’s supplemental declaration, he states that excluding “firearms owned for self-

defense from the statutory safe harbor for a ‘personal collection’” is “an entirely unnatural reading

of the statute.” See Supplemental Declaration of Jeffrey W. Tormey, Exhibit A. Tormey considers

“all the guns [he owns,] including [his] ‘self-defense’ firearms, part of [his] ‘personal collection’

of firearms.” Id. at ¶4.




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       Tormey further explains that, as “firearms technology rapidly changes, new models of self-

defense firearms are always coming to market.” Id. at ¶6. As such, Tormey “not infrequently

find[s himself] changing the type and model” of firearms he carries for personal protection. Id.

Thus, he recently sold a “Smith and Wesson J Frame .38 revolver” that he owned “for at least five

years.” Id. at ¶7. Tormey explains that he is “in the process of upgrading some of [his] Generation

3 Glocks to the Generation 5 Glocks that are ‘MOS’ models, incorporating updated technology

and design.” Id. Additionally, Tormey explains that sometimes, after he has carried a firearm a

bit for personal protection, he has decided to sell it. Id. at ¶9. Tormey believes that the “ATF’s

Final Rule is meant to make [him] question whether [his] private purchasing and selling” of his

personal self-defense firearms “is in fact criminal activity, even though the statute specifically

allows [his] activities in no uncertain terms.” Id. at ¶11.

       Thus, Tormey desires and intends to continue to “sell firearms in an effort to upgrade and

enhance” his collection of “self-defense firearms.” Id. at ¶8. Although this course of conduct in

no way constitutes unlawful dealing under the statute Congress enacted, the Final Rule places

Tormey in jeopardy of being “presumed” to be engaged in felonious behavior. See FR 29091.

       Thus, as this Court previously held, “Tormey is thus well situated to allege that the Final

Rule may be enforced against him.” ECF #44 at 6. This conclusion is further confirmed by

Tormey’s supplemental declaration.

                                                        Respectfully submitted,

Dated: May 31, 2024

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                                CERTIFICATE OF SERVICE

       I Stephen D. Stamboulieh, hereby certify that I have on this day, caused the foregoing

document or pleading to be filed with this Court’s CM/ECF system, which caused a Notice of

Electronic Filing and copy of this document or pleading to be delivered to all counsel of record.



                                                      /s/ Stephen D. Stamboulieh
                                                      Stephen D. Stamboulieh




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